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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA


   ALEKSEJ GUBAREV, XBT HOLDING, S.A.
   and WEBZILLA, INC.,

                                        Plaintiffs,
                                                                Case No. 17-cv-60426-UU
                             v.

   BUZZFEED, INC., AND BEN SMITH,

                                       Defendants.


                    MOTION FOR A STAY OF GOVERNMENT DEADLINES
                        IN LIGHT OF LAPSE OF APPROPRIATIONS

         The Government hereby requests a stay of the deadline to file a position statement regarding

  the Court’s proposed unsealing of the affidavit the Federal Bureau of Investigation (“FBI”) was

  ordered to provide Defendant in the above-captioned matter (hereinafter “FBI Affidavit”). See

  BuzzFeed v. U.S. Dep’t of Justice, No. 17-mc-2429 (D.D.C.), ECF No. 33.

         1.        At the end of the day on December 21, 2018, the appropriations act that had been

  funding the Department of Justice expired and appropriations to the Department lapsed. The

  Department does not know when funding will be restored by Congress.

         2.        Absent an appropriation, Department of Justice attorneys and employees are

  prohibited from working, even on a voluntary basis, except in very limited circumstances,

  including “emergencies involving the safety of human life or the protection of property.” 31

  U.S.C. § 1342.

         3.        Pursuant to this Court’s December 18, 2018 Order Regarding Procedure for

  Notifying Identified Non-Parties About Potential Unsealing, see ECF No. 384, counsel for

  Defendants Ben Smith and BuzzFeed, Inc. (collectively, “Buzzfeed”), was required to send notice

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  to the Government about the potential unsealing of the FBI Affidavit.        The FBI Affidavit is

  currently subject to a Protective Order and has been filed under seal by Defendants in this matter.

  See ECF No. 194 (Order Granting Protective Order); ECF No. 203 (Order Granting Unopposed

  Motion to Seal Government Affidavit).

          4.      Pursuant to the Court’s December 18 Order, the FBI has fourteen days from the

  date of receipt of Defendant’s notice to file a position statement with respect to the Court’s

  proposed unsealing of the FBI Affidavit. 1 See ECF No. 384 ¶ 4. The FBI, through undersigned

  counsel, requests a stay of that deadline, which may be as early as January 11, 2019, to file the

  requested position statement until Congress has restored appropriations to the Department.

          5.      If this motion for a stay is granted, undersigned counsel will notify the Court as

  soon as Congress has appropriated funds for the Department. The Government requests that, at

  that point, all current deadlines for the parties be extended commensurate with the duration of the

  lapse in appropriations.

          Therefore, although we greatly regret any disruption caused to the Court and the other

  litigants, the Government hereby moves for a stay of the Government’s deadline to file the

  requested position statement until Department of Justice attorneys are permitted to resume their

  usual civil litigation functions.

                                        Respectfully submitted this 10th day of January, 2019,

                                               JOSEPH H. HUNT
                                               Assistant Attorney General


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           In an email dated December 26, 2018, counsel for Buzzfeed informed undersigned
  counsel for the FBI that Buzzfeed would send notice to the Government about the potential
  unsealing of its affidavit on December 28, 2018. Undersigned counsel has not been able to verify
  that such notice was, in fact, sent to the Government on December 28, due to the lapse of
  appropriations discussed herein. But undersigned counsel is filing the instant motion out of an
  abundance of caution.
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                                     JACQUELINE COLEMAN SNEAD
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